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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA

 vs.                                         CASE NO: 8:08-cr-126-T-EAK-TBM

 JAMES WILLIAM SCALES
 ______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C.

 § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Docs. 346 and 356. The United States does not oppose a reduction. Doc.

 356. The parties stipulate that he is eligible for a reduction because Amendment 782 reduces

 the guideline range applicable to him, see USSG §1B1.10(a)(1). Doc. 356. The Court agrees

 that he is eligible for a reduction and adopts the amended guideline calculations in the

 parties’ stipulation. Doc. 356.

        Having reviewed the facts in both the original presentence investigation report and the

 February 13, 2015 memorandum from the United States Probation Office in light of the

 factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

 danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

 a reduction of 16 months is warranted as to Count I. Consistent with USSG §1B1.10(e)(1),

 and in light of the practical difficulties of a possible release date on Sunday, November 1,

 2015, the effective date of this order is November 2, 2015.

        Thus:

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      1.     The Court grants the defendant’s motions, Docs. 346 and 356.

      2.     The Court reduces the defendant’s prison term from 57 to 41 months or

             time served, whichever is greater, as to Count I. Count 4 remains as 60

             months consecutive to Count I.

      3.     The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on July 22, 2015.




      Copies to: Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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